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           Factsheet on BP Vessels of Opportunity Program
                                       July 7, 2010

BP is committed to using the local commercial and charter owner/operated
fishing vessels and crews of the Gulf Coast to respond to this spill and minimize
the impact to the people, the environment and the fishing industry. The Vessels
of Opportunity (VoO) program is about getting the right local vessels with the
right capability on the water to attack the oil. This is about working in
partnership with the thousands of fishermen and their vessels that are available
to fight this spill.

BP and the USCG have worked together to clarify the VoO program and policies.
We are working to ensure future VoO operations are modeled to use response
Task Forces/Strike Teams to move decisively, safely and effectively to remove the
oil. The Coast Guard within Unified Command has reviewed and approved these
policies.


Q1. What is VoO?
A. The Vessels of Opportunity program is another way to attack the oil offshore. By
contracting with local commercial and charter fishing owner/operators as a priority we
are building strike teams and taskforces to help us get the oil out of the water before it
hits the coastline.

Q2 How many vessels are in the program?
A. Currently there are around 3000 vessels in the BP Gulf Coast VoO program. The
number of vessels listed in the BP VoO program for Louisiana doesn’t include local
vessels operating for the state of Louisiana, local vessels under the control of the
presidents of Plaquemines, St Bernard and Jefferson parishes or vessels being operated
by BP contracted Oil Spill Response Organizations (OSRO’s). This policy document is
focused on the VoO vessels contracted by BP.

Q3. What activities are VoOs involved in?
A. The main activities are supporting skimming, tending and maintaining boom,
collecting sheen and light oil in shallower waters, finding and removing tar balls from the
water, and transportation of supplies, personnel and wildlife.

Oil surveillance will be conducted from the air rather than on the water as this is more
efficient and means we work more quickly in finding and recovering the oil.

Q4. There are too many recreational boats in VoO currently. Why are you not
using more fishing vessels as this is where the biggest financial impact is?
A. We have over 5000 commercial and charter fishing vessels now contracted and in
our pool available to put onto the water. On average 3000 vessels are in the water daily



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across the Gulf Coast, and over 85% of these are registered as commercial and charter
fishing vessels. We have revised our policy to prioritize local owner/operated
commercial and charter vessels and their crews. Going forward our intent is that
recreational boats will only be used by exception when no other vessel is suitable or
available.

Q5. Can I still sign up to VoO?
A. We will continue to target new contracts based on operational and geographic needs.

Q6. Who decides how many vessels are activated?
A. Operational Demand for VoO vessels is set by Branch Directors, based on the
ongoing and future activities being conducted.

Q7. Is there a cut off date when you need to be licensed to get into the program?
A. Yes, we have heard from fishing communities that a few people have taken
advantage of the VoO program by purchasing boats and licences after the program
opened. The intent of BP’s VoO is to employ those who were make a living from
fishing on the sea at the time the spill began. Therefore, we will only accept vessels
registered to their owner prior to March 31, 2010.

Q8. What training is needed and who pays for this?
A. Captain and crew members all need to complete four hours of OSHA marine safety
training. The boat under contract needs to pass a Coast Guard dockside examination
and the owner needs to make sure the vessel and the crew are fit for the activity. This
includes being free from drugs and alcohol.

Q9. How is BP selecting vessels for deployment to sea as it doesn’t seem fair?
A. We select vessels based on the work that needs to be done and the vessels that are
most technically suited to do that work. Subject to operational considerations, if we
have several suitable vessels, we will do an ‘hours based’ selection where the vessel
with the least time on the water will be called up first and those with the most time may
be rotated out for a time.

Q10. Why do some owners have 3 boats on the water and others none?
A. As we ramped up the program, the focus was getting the fleet together. We are
introducing a new policy of ‘1 vessel activated per owner’ until the supply of that type of
vessel is exhausted, at which point a second vessel of that type from that owner will be
considered. It will take a bit of time to rotate vessels in the current fleet, but this is our
plan going forward to make the program more equitable.

Q11. Is there a call in number for VoO to get more information?
A. Yes, we are putting a dedicated, toll-free telephone number in place for all questions
related to VoO – 1 866.279.7983. BP Community Outreach offices will announce training
events on an ongoing basis. There is only one way to sign up for the program. That is
directly with BP. There is no other person or company authorized to sign you up to
participate.




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Q12. Who can sign up?
A. Vessel owners of commercial and charter boats, registered before March 31st, 2010
in the respective state that meet the specified requirements advertised.
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Q13. How do I know my vessel is suitable?
A. Vessels will be further vetted during staging to ensure they meet safety regulations
and are suited to the required activities.

Q14. What other safety and technical training is provided?
A. In addition to the OSHA four hour training, a range of safety activities will also be
activated which are explained in the BP Factsheet issued on June 8th.

Q.15 Once I go through training, will I automatically get called for duty?
A. No, the training makes you eligible to work in the program. There is no guarantee that
you will be activated. There are operational considerations that determine what type and
size boats are needed at any particular time. In addition, your boat needs to pass a
dockside USCG examination.

Q16. Once I am activated, is there anything else I need to do to remain in good
standing with the program?
A. Each boat must be maintained in a state of operations to pass the USCG dockside
inspection. In addition, each boat owner is responsible for crew fitness for duty, including
compliance with the drug and alcohol policy. Failure to do either of the above may lead
to dismissal from the program. In addition, a boat may be dismissed from the program
for cause.

Q17. How do vessels coming into contact with oil get cleaned?
A. BP has a standard policy and procedure which is provided to its selected contractors
who manage vessel and major equipment decontamination. Vessels coming into
contact with oil during a VoO operation will be de-oiled before they return from open
waters to the harbor/dockside area. This procedure outlines specific decontamination
requirements by vessel type.

Q18. How are you managing non-English speakers in the VoO program?
A. Enrollment, training and materials relating to VoO will be provided in English and
supported by translators as needed for Vietnamese, Spanish and Khmer native speakers.
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Q19. Can you provide more details on how selection is done?
A. Vessels are typically selected from the vessel database that is generated from the
signed contracts, using the following criteria:

•   Vessel size and type must meet mission needs.
•   Vessel and crew have received minimum safety training.
•   Vessel is registered in the state/county where mission is located.
•   Vessel is from the closest port to the mission location.
•   Vessel is commercial fishing vessel (if it meets the mission needs).
•   Vessel is commercial charter vessel (if it better suits the needs or fishing vessel not
    available).



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•     Final selection is made by the Vessels of Opportunity Logistics team based on
      ‘hours worked’.

Q20. Who calls me to let me know my vessel is being activated?
A. Owners and captains will receive a phone call from a BP authorized VoO state
Logistics Team when they are selected for hire. BP will give as much advance notice as
possible before activation (24-48 hrs).

Q21. How much are vessel owners, captains and deck crews being paid?
A. Payment to the vessel owner is made based on the size of the vessel and crew.
There is no payment when on stand-by or waiting at dockside. Payments start when a
vessel enters the water to commence oil recovery activities.


       - Vessel >65’                                $3000/24 hour day
       - Vessel >46’-65’                            $2000/24 hour day
       - Vessel >30’-45’                            $1500/24 hour day
       - Vessel less than 30’                       $1200/24 hour day

    Crew Services
    1. Actual spill response, classroom             $200.00/8 hour day/crew member
    training, table top activities or meetings as   If 12 hours are worked will be pro-
    defined in contract                             rated to $300/day/crew member


                                                    Meals provided by Vessel Owner

All payments are made to the vessel owner. If vessels are activated for deployment on a
given day and are not used, the day rate will still be paid.

Q22. I have finished my first VoO job but after 10 days I still haven’t received my
check. Why?
A. Your initial payment will be processed within 15 days of the end of your first VoO job.
If you continue after that, you will receive payment on a 14 day schedule.

Q23. Who pays for fuel for my boat?
A. BP pays for fuel used on VoO duties through a formula written into the contract. As
an alternative, some areas pay upon receipts, linked to the hours worked. You need to
get authorization for payment before other fueling.

Additional fuel while on hire (ie. offshore) will be provided by BP fueling systems.

Q24. Why are more vessels not participating as oil gets closer to the shoreline?
A. There are already over 3000 vessels in the active VoO fleet daily. VoOs are
continuing to be embedded into strike task forces to maximize oil recovery and the
numbers needed are defined by the operational chiefs in each IC. We will build
additional task forces as they are needed to fight the oil offshore.




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Florida Peninsula Specific

Q. Is there a VoO program for the Florida peninsula?
A. Not at this time. We are currently working on the planning and preparation that will
allow us to initiate the program at the appropriate time.

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Louisiana Specific FAQs

Q. Louisiana has seen more oil on water so why aren’t there more boats being
used in here?
A. The number of vessels listed in the BP VoO program for Louisiana doesn’t include
local vessels operating for the State of Louisiana, local vessels under the control of the
presidents of Plaquemines, St Bernard and Jefferson parishes or vessels being operated
by BP contracted Oil Spill Response Organizations (OSRO’s). This policy document is
focused on the VoO vessels BP contracted with.

Q. Some of the boats seen at sea are from outside the Gulf Coast. Why does that
happen if we are trying to support local fishermen?
A. Vessels operating offshore in the clean-up effort come from a number of sources.
The majority of the vessels are VoOs, and those boats are local hires. However, the Oil
Spill Response Organization (OSRO) manages a fleet of vessels that are from various
parts of the country and even from foreign countries. The outside vessels have special
training for oil spill response.




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